This is an application for leave to appeal from refusal of a writ of habeas corpus. Jackson v. Warden of Maryland House ofCorrection, 190 Md. 717, 60 A.2d 179, just decided.
Petitioner is imprisoned under sentence of four-and-one-half years for "housebreaking" — presumably "statutory burglary", Art.27, § 34. Hickman v. Brady, 188 Md. 103, 52 A.2d 72. He says he was not guilty but two of his companions were and he was "at the scene". The questions of guilt or innocence and the sufficiency of the evidence cannot be retried on habeas corpus.Olewiler v. Brady, 185 Md. 341, 344, 44 A.2d 807; Bernard v.Warden of Maryland House of Correction, 187 Md. 273,49 A.2d 737; Copeland v. Wright, 188 Md. 666, 53 A.2d 553.
Application denied, without costs. *Page 723 